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IN THE UNITED STATES DISTRICT COURT FOR [THE FILED
EASTERN DISTRICT OF VIRGINIA IN OPEN COURT

Norfolk Division SEP 26 2024

UNITED STATES OF AMERICA CLERK, U.S. DISTRICT COURT

NORFOLK, VA

¥.

MICHAEL HENRY, UNDER SEAL

CRIMINAL NO. 2:24-cr- \\\

Defendant. 18 U.S.C. § 208(a)

Acts Affecting a Personal Financial
Interest
(Count 1)

18 U.S.C. §§ 981(a)(1)(C) &
982(a)(2)(A), 28 U.S.C. § 2461
Asset Forfeiture

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INDICTMENT

September 2024 Term-Norfolk. Virginia
THE GRAND JURY CHARGES THAT:
At all times relevant to this Indictment, unless otherwise stated:

GENERAL ALLEGATIONS

1. From in or about 2004 to April of 2023, MICHAEL HENRY, defendant, was a
civilian employee of the Joint Staff J6 Joint Tactical Integration Element (JSJ6). HENRY was
a public official, as defined by 18 U.S.C. § 201(a)(1).

2. Inhis position at the JSJ6, HENRY was the technical director and provided sub-

ject matter expertise. As part of his position, he identified and demonstrated systems and best
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practices across the Department of Defense (DoD), to include Special Operations Forces.
HENRY then facilitated the migration of those best practices/systems to the conventional or
general-purpose forces. His position was not limited to advising Government personnel, he also
advised vendors on what equipment was needed, how best to integrate the equipment, and the
number of pieces of equipment required to meet the operational requirements. His duties in-
cluded picking between competing equipment/vendors that could be used to satisfy the general-
purpose forces need, including making recommendations to Senior Service Headquarters, Ser-
vice Program Executive Officers, Unit Commanders, and others. As part of his duties, he also
provided advice, consultations, and demonstrations of capabilities, to include information on
vendor supplied equipment.

3. JSJ6 is located in Suffolk, Virginia. Suffolk, Virginia is within the Eastern Dis-
trict of Virginia.

4. Company A is a DoD contractor that sells a software called TRAX. TRAX is
short for Tactical Radio Application eXtension. It is software that hosts, translates, and routes
mission-critical data to and from disparate networks. It gives military personnel the ability to
share data across platforms and branches of service.

5.  Aspart of his job with JSJ6, HENRY promoted and recommended TRAX as part
of his job with JSJ6.

6. On or about November 13, 2018, HENRY incorporated Industrial Communica-
tions Group, LLC (ICG) in Virginia Beach, Virginia, as a consulting firm designed to provide
communication solutions to include the oil and gas industry.

7. In or about July 2019, Company A hired HENRY as a consultant for commercial
entities such as U.S. police, border protection, private security sectors, and the oil and gas in-

dustry.
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8. Between in or about September 2019 to July 2020 Company A, paid HENRY
approximately $96,336 to HENRY though ICG. These payments occurred on or about the dates

and in the amounts listed below:

Date Amount
September 5, 2019 $5,000.00
September 30, 2019 $5,000.00
November 5, 2019 $5,000.00
December 3, 2019 $5,000.00
January 6, 2020 $12,544.25
February 27, 2020 $10,750.00
March 19, 2020 $7,976.62
March 31, 2020 $7,500.00
April 7, 2020 $4,309.62
April 13, 2020 $1,549.30
April 14, 2020 $7,500.00
June 2, 2020 $7,500.00
June 30, 2020 $7,708.99
July 9, 2020 $1,527.93
July 30, 2020 $7,500.00

9. Following the formal establishment of the consultancy, HENRY communicated
to individuals at Company A that he had an idea for a new cross domain solution later called
“Armored Scorpion” that combined a product from Company A with a product from Company

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10. Company A needed a government sponsor for “Armored Scoprion” and the JSJ6
was that sponsor. That sponsorship included setting up demonstrations and communicating
with the National Security Administration (NSA) regarding a necessary certification.

11. Following this proposal, HENRY coordinated meetings with government officials
to find a government sponsor for Armored Scorpion.

12. HENRY also assisted Company A in obtaining testing certifications for Armored
Scorpion and demonstrating Armored Scorpion at military exercises.

13. HENRY also presented Armored Scorpion to other government officials to advo-
cate for Armored Scorpion, to assist in testing it, and to assist in asking the NSA to certify it.

14. HENRY and Company A also coordinated and pursued Company A obtaining a
5-year indefinite quantity indefinite delivery (“IDIQ”) contact with the General Services Ad-
ministration (“GSA”) (hereinafter referred to as the “GSA IDIQ”). HENRY’s command the
JSJ6 sponsored that IDIQ contract with the GSA.

COUNT ONE
(Acts Affecting a Personal Financial Interest)

15. The allegations contained in paragraphs 1 through 14 of the General Allegations
section of the Indictment are realleged and incorporated as if set forth fully herein.

16. From in or about July 2019, to in or about June 2020, in the Eastern District of
Virginia, and elsewhere, the defendant, MICHAEL HENRY, being an employee of the Depart-
ment of Defense that served as the technical director of the Joint Staff J6 Joint Tactical Integration
Element, knowingly and willfully did participate personally and substantially as a Government
officer and employee through decision, approval, recommendation, the rendering of advice, inves-
tigation, and otherwise, in an application, contract, claim, and other matters, in which the defendant
had a financial interest. (In violation of Title 18, United States Code, Section 208(a).)

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Pursuant to the E-Government Act,
the original of this page has been filed
under seal in the Clerk’s Office.

A TRUE BILL:

REDACTED COPY

FOREPERSON

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